               Case 19-11549-JDW           Doc 7         Filed 04/11/19 Entered 04/11/19 13:06:29   Desc Main
                                                         Document      Page 1 of 5


         1911549 - Court-A- US B
         SCHNELLER AND LOMENICK, P.A.
         P.O. BOX 417

         HOLLY SPRINGS, MS 38635



         US Bankruptcy Courthouse
         703 Hwy 145 North
         Aberdeen, MS 39730




                                                           NOTICE




041119 . 0004 . 73 . 00426539   . 001   1911549 . Court . A .                                              387
                    Case 19-11549-JDW      UnitedDoc
                                                  States  Bankruptcy
                                                     7 Filed                Court
                                                             04/11/19 Entered
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                                                                                04/11/19 13:06:29                                                        Desc Main
                                                                        FOR THE
                                                          Northern Dist Of MS Aberdeen Division

   Debtor 1:    DEWAYNE JONES                                                      Last 4 digits of Social Security number or ITIN:         XXX-XX-9032
                                                                                   EIN:

   Debtor 2:                                                                       Last 4 digits of Social Security number or ITIN:
                                                                                   EIN:

   Case Number: 19-11549-JDW                                                       Date Case Filed or Converted to Chapter 13:              April 09, 2019


Form 309I (12/15)

NOTICE OF CHAPTER 13 BANKRUPTCY CASE
For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the meeting
of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect
debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert
a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under
11 U.S.C. § 1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors
who want to have their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See
line 13 below for more information.)
To protect your rights, consult an attorney. All documents filed in this case may be inspected at the bankruptcy clerk's office at the address listed below
or through PACER (Public Access to Court Electronic Records at www.pacer.gov).
The staff of the bankruptcy clerk's office cannot give legal advice.
To help creditors correctly indentify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which
may appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in this case. Do not include more that the last four digits of a Social
Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                              About Debtor 1:                                                About Debtor 2:

1: Debtor's full name                         DEWAYNE JONES

2: All other names used
   in the last 8 years


3: Address                                                                                                   If debtor 2 lives at a different address:
                                              140 PINEWOOD DRIVE

                                              HOLLY SPRINGS, MS 38635
4: Debtor's attorney                          SCHNELLER AND LOMENICK, P.A.                                                         (662) 252-3224
                                                                                                             Contact phone
   Name and Address                           P.O. BOX 417
                                                                                                             Email
                                              HOLLY SPRINGS, MS 38635
5: Bankruptcy trustee                         Locke D. Barkley                                                                     (601) 355-6661
                                                                                                             Contact phone
   Name and Address                           6360 I-55 North
                                              Suite 140                                                      Email                 www.barkley13.com
                                              Jackson, MS 39211
6: Bankruptcy Clerk's office
   Documents in this case may be              US Bankruptcy Courthouse                                       Hours open
   filed at this address.                     703 Hwy 145 North
  You may inspect all records filed                                                                          Contact phone
  in this case at this office or              Aberdeen, MS 39730
  online a www.pacer.gov.
Form 309I Page 1                                                                                                                  For more information, see page 2


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Debtor:   DEWAYNE JONES                                                                        19-11549-JDW
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7: Meeting of creditors                                                                        Location:   The Landers Center
   Debtors must attend the meeting    May 30, 2019                   at    11:30 AM                        4560 Venture Dr
   to be questioned under oath. In                                                                         Room 11
                                      Date                                Time
   a joint case, both spouses must                                                                         Southaven, MS 38671
   attend.
    Creditors may attend, but are     The meeting may be continued or adjourned to a later
    not required to do so.            date. If so, the date will be on the court docket.

8: Deadlines                          Deadline to file a complaint to challenge
                                      dischargeability of certain debts:                                        Filing deadline:      July 29, 2019
   The bankruptcy clerk's office
   must receive these documents       You must file:
   and any required filing fee by        a motion if you assert that the debtors are not entitled
   the following deadlines.              to receive a discharge under U.S.C. § 1328(f), or
                                         a complaint if you want to have a paticular debt excepted
                                         from discharge under U.S.C. § 523(a)(2) or (4).
                                      Deadline for all creditors to file a proof of claim                       Filing deadline:      June 18, 2019
                                      (except governmental units):
                                      Deadline for governmental units to file a proof                           Filing deadline:      October 07, 2019
                                      of claim:

                                      Deadlines for filing proof of claim:
                                      A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                      at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you
                                      might not be paid for your claim. To be paid, you must file a proof of claim even if your claim is listed in the
                                      schedules that the debtor filed.
                                      Secured creditors retain rights in their collateral regardless of whether they file a proof of claim.
                                      Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences
                                      a lawyer can explain. For example, a secured creditor who files a proof of claim may surrender important
                                      nonmonetary rights, including the right to a jury trial.
                                      Deadline to object to exemptions:                                         Filing deadline:      30 days after the
                                      The law permits debtors to keep certain property as exempt.                                     conclusion of the
                                      If you believe that the law does not authorize an exemption                                     meeting of creditors
                                      claimed, you may file an objection.

9: Filing of plan                     Miss. Bankr. L.R. 3015-1(d) requires the debtor to serve a copy of the plan and related notice on the Trustee, the US
                                      Trustee, and all creditors. The plan may contain a motion for valuation of security and/or a motion to avoid lien.
                                      Any objection to the plan or to any motion contained therein shall be in writing and filed with the Clerk of Court on
                                      or before June 13, 2019. Objections will be heard on June 25, 2019 at 01:30 PM, Oxford Federal Building,
                                      911 Jackson Avenue, Oxford, MS 38655 unless otherwise ordered by the court.
                                      If no objection is timely filed, the plan may be confirmed without a hearing.


10: Creditors with a foreign          If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                           extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                      any questions about your rights in this case.

11: Filing a chapter 13               Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                   according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                      plan and appear at the confirmation hearing. A copy of the plan will be sent to you later and the court will
                                      send you a notice of the confirmation hearing. The debtor will remain in possession of the property and may
                                      continue to operate the business, if any, unless the court orders otherwise.

12: Exempt property                   The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                      to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                      You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the
                                      law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.

13: Discharge of debts                Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                      However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                      are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                      except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                      523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                      If you beleive that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                      you must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                      exenptions in line 8.



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                                                                                                    0004
            Case 19-11549-JDW
                                 CERTIFICATE       OF MAILING
                                   Doc 7 Filed 04/11/19 Entered 04/11/19 13:06:29          Desc Main
CASE: 1911549        TRUSTEE: 73
                                              Document
                                          COURT: 387
                                                          Page 4 of 5
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TASK: 04-10-2019 .00426539.N13NOP         DATED: 04/11/2019
Court              US Bankruptcy Courthouse                    703 Hwy 145 North
                                                               Aberdeen, MS 39730
Trustee            Locke D. Barkley                            6360 I-55 North
                   Suite 140                                   Jackson, MS 39211
Debtor             DEWAYNE JONES                               140 PINEWOOD DRIVE
                                                               HOLLY SPRINGS, MS 38635
799       000002   SCHNELLER AND LOMENICK, P.A.                P.O. BOX 417
                                                               HOLLY SPRINGS, MS 38635
          000023   FINGERHUT                                   PO BOX 166
                                                               NEWARK, NJ 07101
          000008   FREEDOM MORTGAGE                            PO BOX 37628
                                                               PHILADELPHIA, PA 19101-0628
          000029   MONEY KEY                                   3422 OLD CAPITOL TRAIL
                   SUITE 1613                                  WILMINGTON, DE 19808
          000017   BARCLAYS BANK                               PO BOX 8802
                                                               WILMINGTON, DE 19899-8802
          000030   PAYPAL CREDIT                               PO BOX 5138
                                                               LUTHERVILLE TIMONIUM, MD 21094
          000011   NAVY FEDERAL CREDIT UNION                   PO BOX 3302
                                                               MERRIFIELD, VA 22119-3302
          000025   FORTIVA                                     PO BOX 105555
                                                               ATLANTA, GA 30348
          000033   SYNCHRONY BANK                              ATTN: BANKRUPTCY DEPT
                   PO BOX 965060                               ORLANDO, FL 32896
          000009   MARSHALL COUNTY CHANCERY CLERK              PO BOX 219
                                                               HOLLY SPRINGS, MS 38635
          000010   MARSHALL COUNTY TAX COLLECTOR               POST OFFICE BOX 40
                                                               HOLLY SPRINGS, MS 38635
          000015   FIRST HERITAGE CREDIT                       105 E. VAN DORN AVENUE
                                                               HOLLY SPRINGS, MS 38635
          000022   FIDELITY NATIONAL LOANS                     PO BOX 490
                                                               HOLLY SPRINGS, MS 38635
          000034   JAMES P FORTUNE                             FIDELITY LOANS
                   P O BOX 490                                 HOLLY SPRINGS, MS 38635
          000012   CORPORATION SERVICE COMPANY                 7716 OLD CANTON RD STE C
                                                               MADISON, MS 39110
          000035   JULIE RATLIFF                               605 CRESCENT BLVD
                   STE 101                                     RIDGELAND, MS 39157
          000014   CAPITAL CORPORATE SERVICES                  REGISTERED AGENT FOR REPUBLIC FINAN
                   248 EAST CAPITOL STREET SUITE 840           JACKSON, MS 39201
          000013   CITIMORTGAGE C/O CT CORP SYSTEMS            645 LAKELAND EAST DR
                   SUITE 101                                   FLOWOOD, MS 39232
          000028   DEPT STORES NATIONAL BANK/MACYS             BANKRUPTCY PROCESSING
                   PO BOX 8053                                 MASON, OH 45040
          000007   CREDIT ACCEPTANCE CORP                      25505 W TWELVE MILE RD
                   SUITE 3000                                  SOUTHFIELD, MI 48034
          000024   FIRST PREMIER BANK                          ATTN: BANKRUPTCY
                   P O BOX 5097                                SIOUX FALLS, SD 57117
          000031   PLAIN GREEN LOANS                           PO BOX 270
                                                               BOX ELDER, MT 59521-0270
                                                                                                                      0004
                   Case 19-11549-JDW
                                                   CERTIFICATE       OF MAILING
                                                     Doc 7 Filed 04/11/19 Entered 04/11/19 13:06:29        Desc Main
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TASK: 04-10-2019 .00426539.N13NOP                          DATED: 04/11/2019
                000032        SIMPLY FAST LOANS                                 4312 RAINBOW BLVD
                                                                                KANSAS CITY, KS 66103
                000021        DILLARDS/WELLS FARGO BANK N.A.                    PO BOX 660553
                                                                                DALLAS, TX 75266-0553
                000006        CONNS CREDIT CORP                                 LEGAL DEPT
                              P O BOX 2358                                      BEAUMONT, TX 77704
                000019        CAPITAL ONE                                       PO BOX 30285
                                                                                SALT LAKE CITY, UT 84130
                000005        BRIDGECREST                                       7300 E HAMPTON AVE
                              SUITE 101                                         MESA, AZ 85209
                000020        CREDIT ONE BANK                                   ATTN: BANKRUPTCY
                              P O BOX 98873                                     LAS VEGAS, NV 89193-8873
                000027        LENDINGCLUB CORPORATION                           595 MARKET STREET , SUITE 200
                              ATTN: BANKRUPTCY DEPT                             SAN FRANCISO, CA 94105
                000016        AFFIRM LOANS                                      225 BUSH STREET
                                                                                SAN FRANCISCO, CA 94111
                000026        GENESIS BANKCARD SERVICES                         PO BOX 4499
                                                                                BEAVERTON, OR 97076-4499
                000018        BIG PICTURE LOANS                                 2505 1ST AVENUE
                                                                                SEATTLE, WA 98121
                                                                                                            35 NOTICES
         THE ABOVE REFERENCED NOTICE WAS MAILED TO EACH OF THE ABOVE ON 04/11/2019 .
         I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
         EXECUTED ON 04/11/2019 BY /S/EPIQ Systems, Inc.

*CM - Indicates notice served via Certified Mail
